          Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 1 of 21 Page ID #:1
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      B
                                       UNITEll STATES DISTRICT COURT
     9
                                      CENTRAL DISTRICT OF CALIFORNIA
N   ~~           r~~~~
    it    Jennifeoew,                                     ) Case No.:
                       Plaintiff,                             O e ~,~ ~ ~ ~ ~ ~ — V ~~— ~~
    12
                 VS.
!
`   13                                                              ) HONORABLE:
          LOS ANGELES COUNTY METROPOLITAN
          TRANSPORTATION AUTHORITY, a municipal
    14
          corporation, LOS ANGELES COUNTY METROPOLITAN )
    15    TRANSPORTATION AUTHORITY BOARD OF DIRECTORS,) COMPLAINT FOR DAMAGES,JURY
          a public body, PHILLIP A WASHINGTON, individually j DEMAND,AND REQUEST FOR INJUNCTIVE
                                                                      RELIEF
    16    a nd in his official capacity, ALEX WIGGINS, individually
          and in his official capacity, JOANNE PETERSON,
    1~    individually and in her official capacity, MARY           ~
    18
          WICKHAM, individually and in her official capacity,       )
          EDUARDO MONTELONGO, individually and in his               j
    19    official capacity,  MARY   REYNA  individually and in her
          official capacity, CHARLES SAFER, individually and in
    zo    his official capacity, CAMILLE GRANDNIECE
          TOWNSEND, individually and in her official capacity, )
    21
          HILDA L. SOLIS, individually and in her official capacity,)
    2z    MARK RIDLEY-THOMAS individually and in his official
          capacity, SHEILA KUEHL, individually and in her official
    23    capacity, JANICE HAHN individually and in her official ~
          capacity, KATHRYN BARGER individually and in her
    ?_4
          official capacity, ASTON GREENE individually and in his)
    2s    official capacity, LINDSAY MASON, individually and in
          her official capacity, JONAURA WISDOM individually
    26    a nd in her official capacity, KAREN GORMAN
          individually and in her official capacity                 ~
    27
                        Defendants)jointly and severally )
    28




            COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
      Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 2 of 21 Page ID #:2



      Jennifer Erin Loew, JD.
 i
      Plaintiff in Pro Per
 2    21201 Kittridge Street, #2411
      Woodland Hills, CA 91303
 3    818-571-1059
 4

 5

 6
            COMPLAINT FOR DAMAGES,JURY DEMAND, AND REQUEST
                          FOR INJUNCTIVE RELIEF
 8

 9          NOW COMES Plaintiff Jennifer Loew, and states for her complaint against Defendants Los

to    Angeles County Metropolitan Transportation Authority, Los Angeles County Metropolitan
      Transportation Authority Board of Directors, Phillip A Washington, Alex Wiggins, Joanne
ii
      Peterson, Mary Wickham, Eduardo Montelongo, Mary Reyna, Charles Safer, Camille
iz
      Grandville Townsend, Hilda L. Solis, Mark Ridley-Thomas, Sheila Kuehl, Janice Hahn, Kathryn
13
      Barger, Aston Greene, Lindsay Mason, Jonaura Wisdom, Karen Gorman,(collectively, the
14
     "Defendants"):
15

16
                                                   PARTIES
~~
18   ~ 1.     Plaintiff Jennifer E Loew is an individual residing in the City of Los Angeles, County of
19    Los Angeles, State of California.

20   2.        Defendant Los Angeles County Metropolitan Transportation Authority (LACMTA) is a
     general powers transportation agency organized under the laws of the State of California, a
21
      m unicipal corporation, and located in the City of Los Angeles, County of Los Angeles, State of
2z
     California.
23
     3        Defendant Los Angeles County Metropolitan Transportation Authority Board of Direc
24
     (MTA Board) is a local public body that controls, operates, administers and governs the
25
     LACMTA in the City of Los Angeles, County of Los Angeles, State of California.
z6   4.       Defendant Phillip Washington,(Washington) is an individual and the Chief Executive
27   Officer of LACMTA, and works in the City of Los Angeles, County of Los Angeles, State of
28   California.


          COMPLAINT FOR DAMAGES,JURY DEMAND, AND REQUEST FOR INJUNCTIVE RELIEF
                                                      -2
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 3 of 21 Page ID #:3




     5.      Defendant Hilda L. Solis (Solis), Los Angeles County First District Supervisor and MTA
 i
     Board Member, is an individual and Los Angeles County and LACMTA Counsel, and works in
 2
     ~ the City of Los Angeles, County of Los Angeles, State of California.
 3

 4
     6.      Defendant Mark Ridley-Thomas (Ridley-Thomas), Los Angeles County Second District
 5
     Supervisor and MTA Board Member, is an individual and Los Angeles County and LACMTA
 6   Board Member, and works in the City of Los Angeles, County of Los Angeles, State of
     California.
 8   7.      Defendant Shelia Kuehl (Kuehl), Los Angeles County Third District Supervisor and MTA
 9   Board Member, is an individual and Los Angeles County and LACMTA Board Member, and

Zo   works in the City of Los Angeles, County of Los Angeles, State of California
     8.      Defendant Janice Hahn (Hahn), Los Angeles County Fourth District Supervisor and
i~
     MTA Board Member, is an individual and Los Angeles County and LACMTA Board Member,
12
     and works in the City of Los Angeles, County of Los Angeles, State of California.
13
     9.      Defendant Katherine Barger (Barger), Los Angeles County Fifth District Supervisor and
14
     MTA Board Member, is an individual and Los Angeles County and LACMTA Board Member,
is   and works in the City of Los Angeles, County of Los Angeles, State of California.
i6
i~   10.     Defendant Stephanie Wiggins (Stephanie), is an individual and the MetroLink CEO,
18   Metro Consultant, Former LAMTA Deputy CEO, and works in the City of Los Angeles, County
19   of Los Angeles, State of California.

zo   1 1.    Defendant Alex Wiggins (Wiggins), is an individual and Chief Executive Officer of the
     New Orleans Regional Transit Authority and Former METRO Chief of System Security and
21
     Law Enforcement, and works in the City of New Orleans, Parish of Orleans, State of Louisiana.
22
     12.     Defendant Joanne Peterson (Peterson), is an individual and the LACMTA Chief of
23
     Human Capital, and works in the City of Los Angeles, County of Los Angeles, State of
24
     California.
25
     1 3.   Defendant Jonaura Wisdom,(Wisdom) is an individual and the Metro Chief of Civil
26
     Rights of LACMTA, and works in the City of Los Angeles, County of Los Angeles, State of
z~   California
28   14.     Defendant Mary Reyna (Renya), is an individual and Los Angeles County and LACMTA


       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
                                                     -3
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 4 of 21 Page ID #:4




     Counsel, and works in the City of Los Angeles, County of Los Angeles, State of California.
     15.    Defendant Charles Safer (Safer), is an individual and Los Angeles County and LACMT~
 2
     Counsel, and works in the City of Los Angeles, County of Los Angeles, State of California.
 3
     16.    Defendant Eduardo Montelongo (Montelongo), is an individual and Los Angeles County
 4
     and LACMTA Counsel, and works in the City of Los Angeles, County of Los Angeles, State of
 5
     California.
 6

                                        JURSIDICTION AND VENUE
 8

 9   17. This is an action for the deprivation of Ms. Loew's rights under the

to   United States Constitution arising out of Ms. Loew's employment with LACMTA
     and the LACMTA BOARD, and seeks relief, including, monetary damages, under the13th and
ii
     14th Amendments to the United States Constitution.
12

13
     18.    This Court has federal question jurisdiction over Ms. Loew's claims
14
     pursuant to 28 U.S.C. §§ 1331, 1343(a)(3), and 1343(a)(4) and 42 U.S.C. § 1983.
15

16   19.    This Court has jurisdiction to grant injunctive and equitable relief, as well as monetary
i~   damages, pursuant to 29 U.S.C. § 626(c).
18

19   20.   Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

20
     part of the events or omissions giving rise to the subject claims occurred in the judicial district
     of tnis court.
21

22
     21. Venue in this Court is also proper pursuant to 28 U.S.C. § 1391(b)(1) because Defendants'
23
     contacts in the judicial district of this Court are sufficient to subject Defendants to this Court's
zq
     personal jurisdiction and, therefore, Defendants are deemed to reside in the judicial district of
25
     this Court pursuant to 28 U.S.C. §1931(c)(2).
26

27

28




       COMPLAINT FOR DAMAGES,JURY DEMAND, AND REQUEST FOR INJUNCTIVE RELIEF
                                                       -4
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 5 of 21 Page ID #:5




 1

 2
                                      GENERAL ALLEGATIONS
 3

 4
      22.   Mrs. Loew is a thirty-seven (37) year old, Caucasian female; she is also a wife and
 5    mother of two(2) children.
 6


     23.     Mrs. Loew graduated in 2000, from Sherman Oaks Center for Enriched Studies
 8   (LAUSD).
 9

io   24.    Mrs. Loew received her Bachelor of Arts Degree in Sociology (Magna Cum Laude)from
     the University of California Los Angeles(UCLA) in 2004.
li
12
     25.    Mrs. Loew earned her Juris Doctorate from Penn State Dickenson Law School in 2009.
13

14
     26.     Mrs. Loew began her employment with LACMTA and LACMTA BOARD as a Special
i5   Projects Manager in the Systems, Security and Law Enforcement Department of the LACMTA
16   in September 2016.
i~
18   27.     Since her above hire by LACMTA and LACMTA BOARD, Mrs. Loew served as a
19   Special Projects Manager in the Systems, Security and Law Enforcement Department.

20

     28. Throughout her employment with LACMTA and LACMTA BOARD, approximately four
21
     and a half(4.5) years, Mrs. Loew maintained an exemplary employment record.
22

23
     29.    However, Mrs. Loew was treated disparately, harassed, berated, lied to, humiliated,
24
     intimated, threatened because of her Caucasian race and because Washington, an African
25
     American, was furious that Loew had reported to her Supervisor Wiggins that Jon Gordon
26
     (Gordon) an African American and Washington's best friend's son was not qualified for the
27   position, of which Washington directly appointed Gordon. Mrs. Loew also reported to
28   Washington, Peterson, and Wiggins that Gordon was engaged in Theft, Fraud, and engaged in


       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
                                                   -5
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 6 of 21 Page ID #:6




     the personal use of Government Assets.
 i
 2
     30.     The above conduct is consistent with LACMTA and LACMTA BOARD's notoriety for
 3
      inhibiting and stepping on the civil rights of Caucasian and non-minority administrators when
 4
     African American and minority administrators covet Caucasian and non-minority
 5
     administrators' legitimately earned and obtained positions, seniority, pay, jobs or duties.
 6


     ~ 31.   LACMTA, acting in concert and combination, with the LACMTA BOARD and various
 8    individuals, has a history of harboring, and acting on, racial animus towards Caucasians and
 9    non-minority individuals.

10

     32. In furtherance of the above racial animus, LACMTA, LACMTA BOARD and their officials,
ii
     supervisors and agents —including Washington, Wiggins, Peterson, Wisdom, Kuehl, Barger,
~z
     Hahn, Ridley-Thomas, and Solis —maintain a custom, policy and practice of: treating
13
     Caucasian and non-minority administrators disparately and less favorably than similarly
14
     situated African-American and minority administrators; subjecting Caucasian and non-minority
i5   administrators to hostility and harassment in the workplace based on their race; accelerating
16   the promotion and advancement of African-American and minority administrators at the
i~   expense, and to the detriment, of Caucasian and non-minority administrators; instituting
18   purported "Corrective Action" against Caucasian and non-minority administrators for conduct
~9   that is also engaged in by African-American and minority administrators but without

zo   implementation of Corrective Action and without fear of substantive discipline; declining, and
     refusing, to reasonably and properly investigate, and take remedial action for, "reverse
21
     discrimination" workplace complaints and reports by Caucasian and non-minority
22
     administrators; failing to reasonably investigate or remedy discriminatory and hostile work
23
     environments at LACMTA based on racial animus towards Caucasians and non-minorities;
24
     failing to reasonably or adequately educate or train employees, supervisors, managers, staff,
25
     and administrators in responding to, investigating, and remedying discriminatory and hostile
26   work environments at LACMTA based on animus towards Caucasians and non-minorities;
2~   creating, tolerating, acquiesced in, supporting and furthering the disparate treatment and
28   hostile work environment directed at LACMTA administrators because of their Caucasian and


       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 7 of 21 Page ID #:7




     non-minority race or ethnicity by the related actions and omissions of LACMTA, LACMTA
 i
     BOARD and their officials with final decision-making authority.
 z
 3
     32.     From the commencement of Ms. Loew's assumption of her duties as
 4
     Special Projects Manager at LACMTA in September 2016 through the present, Ms. Loew was
 5
     consistently rated Highly Effective,
 6


     34.     From the commencement of Ms. Loew's assumption of her duties as Special Projects
 8   Manager at LACMTA in September 2016 through December 2019, Mrs. Loew had had a
 9   spotless and pristine employment record with LACMTA, including the complete absence of ar

to   warnings, disciplines, suspensions, complaints, write-ups, grievances, charges or negative
     employment actions of any type.
ii
12
     35.    Friends of Washington including Gordon, Vilma Jones (Jones), Patricia
13
     Martin(P.Martin), Patrice McElroy (McElroy), Harold Martin (H.Martin), and Ashley Martin (A.
14
     Martin) who are African American were not required to go through the normal Human
is   Resource and hiring practices of LACMTA, including qualifying for secretary pools, taking
16   performance exams, being subject to interviews, having independent salary reviews or
i~   meeting minimum job qualifications, and but instead they are directly appointed to positions
18   with noted pay. However, Loew, Caucasian and non-minority must go through all of the
19   standard HR practices for hiring. There is a clear compensation discrepancy in my department

20
     based on race in violation of CA Labor law.

21
     36.    Friends of Washington who are African American including but not limited to Jones,
22
     Gordon, Joyce Burrell Garcia (Garcia), Jackie Bobo Fabre (Fabre), P. Martin, H. Martin, Aston
23
     Greene (Greene) and A. Martin are given autonomy within the LACMTA. African American are
24
     not held accountable for their job function, or for fail to produce work product consistent with
25
     deadlines and their job description. African American Employees are not required to meet HR
z6   policies including but not limited to timecard reporting, receiving bribes by contractors, and
27   personal use of government vehicles. Loew, Caucasian and non-minority employees are held
28   to all HR standards and work product accountability measures.


       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
                                                     -7
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 8 of 21 Page ID #:8




 1
     37.     Mrs. Loew was forced under duress to hire Gordon and Garcia both African American
 2
     and neither of whom met qualifications for their positions However, Garcia and Gordon were
 3
     African American and friends of Washington, Gordon and Garcia were not required to submit
 4
     to the same hiring process as Loew, Caucasian, and non-minority employees of LACMTA.
 5

 6   38.     Specifically, Gordon was given permission by Washington to ignore management
     directives from Mrs. Loew, Caucasian and non-minority Managers. Mrs. Loew restricted
 8   Cordon's flex schedule consistent with departmental business needs and Human Resources
 9   Policies. Upon hearing of Mrs. Loew's decision to restrict Cordon's flextime, Washington

io   became irate and reversed Mrs. Loew's personnel decision without consulting Mrs. Loew.
     Washington only has a habit of reversing any management decisions of Mrs. Loew and other
ii
     Caucasian and non-minority Managers
12


13
     39.     In October of 2018 Washington launched an EEO investigation into the conduct of Mrs.
14
     Loew. Washington made accusations that Mrs. Loew had created a hostile work environment
15
     for Jones. As an African American Employee Jones was not required by Washington, Peterson
16
     and Wisdom to go through the normal EEO process. Washington in violation of LACMTA
i~   policy was allowed by Peterson to initiate EEO for an African American Employee against Mrs.
18   Loew.
19
     40.     In addition to Mrs. Loew, Washington also alleged the same charges against Wiggins
20   an African American and Helen Valenzuela (Valenzuela) anon-minority Director at LACMTA.
21
     41.     Washington at the initiation of his investigation revoked the management authority of
22
     both Caucasian and non-minority Managers, Loew and Valenzuela; however, Washington
23
     allowed Wigging the only African American charged in the investigation to maintain his
24   management authority and staff.
25
     42.     Washington had previously allowed Wiggins to keep his management authority and s
z6
     in 2017 when anon-minority LACMTA employee accused Wiggins soliciting her for sexual
2~
     favors in exchange for a promotion and sexual harassment.
28




       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
                                                    -8
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 9 of 21 Page ID #:9




     43.    The results of the investigation initiated by Washington exonerated Loew and showed
 i
     that no findings were substantiated. Subsequently due to the fact that Mrs.Loew ran a
 2
     department solely comprised of African America Employees, Washington and Peterson
 3
     refused to reinstate Loew's Staff.
 4
     44.    In fact, all African American staff were withheld from both Mrs. Loew and Mrs.
 5
     Valenzuela and following the conclusion of the investigation. Mrs. Valenzuela only had her
 6
     Caucasian staff reinstated.

 8
     45.    Washington and Peterson refused to move forward Mrs. Loews promotion. During the
     same time Washington and Peterson promoted African American Employees.
 9

io   46.    On June 5, 2019, Mrs. Loew requested that Wisdom and Peterson launch investigation

li   into Washington's actions of creating a hostile work environment and discrimination. Peterson

12
     noted that the African American employees of the agency will not be treated as Mrs. Loew had
     been treated and all African American Employees would be allowed to maintain their
13
     Management responsibilities and staff.
14

is   47.    Mrs. Loew attempted to work with Direct Supervisor Greene, an African American male

16
     to restore her staff following Washington's investigation. Greene refused to reinstate Loew's
     staff, as Greene was furthering Washington's discrimination against Loew.
i~
18   48.   On, June 7, 2019, Washington, held meeting of all Systems, Security and Law

19   Enforcement personnel. At that meeting, Washington publicly admonished and humiliated
     M rs. Loew. Washington expressed that did not agree with the conclusions of Investigator
zo
     Attorney Aisha Adam, that he was very disappointed in the managers who were investigated,
zi
     and he believed that that Mrs. Loew was a racist.
22
     49.   On June 7. 2019, Greene made a publicly regarding his commitment Phillip Washington
23
     after Phillip Washington crusade against Caucasian and non-minority LACMTA employees.
24
     50.    When Mrs. Loew informed Wiggins of substandard work performance by Gordon,
25
     Jones and Garcia Wiggins told Loew that he (Wiggins) and Washington like to "give African
26
     Americans a chance, despite not meeting basic job qualifications or experience."
2~

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       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
                                                   -9
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 10 of 21 Page ID #:10




      51.    On another occasion when Mrs. Loew informed Wiggins that Gordon, an African
 i
      American was not fulfilling his job duties, Wiggins told Loew that the directive from Washington
 z
      was to "be flexible with Gordon". When Loew asked,"What if Gordon doesn't do his work?
 3
      what then?" Wiggins reiterated, "Phil (Washington)wants you to be flexible with Jon (Gordon)"
 4
      Wiggins also warned Loew that Washington had a history of "TAKING THINGS INTO HIS
 5
      OWN HANDS" and to be very careful.
 6
      52.    When Wiggins was approached with the substandard work and violations of Human
      Resources Policy by African Employees Wiggins accused Mrs. Loew of engaging in "girl
 8
      drama".
 a
     53.     Fabre, an African American tried to withhold Mrs. Loew's job promotion disposing Mrs.
io
      Loew's Job/Promotion application.
ii
12
     54.     Fabre works to support African American Employees who are friends of Washington to
     secure employment for which they are not qualified. Fabre by aids only African Americans with
13
     their contracts in project management, funding lunches for only African American Employees
14
     and their meetings, sending African American employees to conferences outside of their work
is
     ~ purview at the taxpayer expense. Fabre often refuses to pay Loew's and other Caucasian and
i6
      non-minority Managers vender contractors, which in some cases has resulted in contractors
i~   threatening discontinuing services.
18
     ~ 55.   Fabre under minds Mrs. Loew's work function and authority of Caucasian and Non-
19
      minority Employees. Fabre colludes with African American employees create false claim of
20
     racism and has Caucasian and non-minority employees investigated absent evidence.
21
     56.     Fabre has made public statements "we need to take care of our own" meaning African
22
     American employees. Fabre's actions against Mrs. Loew have been consistent with her
23
     ~ publicly made comments.
24
     57.     Loew has repeatedly brought an evidence of discrimination to the LACMTA Leadership
25
     team, the LACMTA Board of Directors, and Inspector General of the LACMTA.
z6

27

28




        COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 11 of 21 Page ID #:11




      58.    Defendants' above conduct and omissions caused Loew significant damages and
      injuries in excess of $5,000,000, including economic loss, extreme emotional distress and
 2
      damage to business reputation.
 3

 4


 5
                                                 COUCIt
 6

      42 U.S.C.§ 1983 —RACE DISCRIMINATION IN VIOLATION OF THE EQUAL PROTECTION
                                                  CLAUSE
 8

 9

10
     ~m      Mrs. Loew incorporates herein her above allegations.
ii
     60.    The above actions by Defendants were taken under color of state law.
12

     61.     Ms. Loew is a 37-year-old, Caucasian female, and a member of a protected class within
13
      the meaning of 42 U.S.C. § 1983 and the Equal Protection Clause of the Fourteenth
14
      Amendment to the United States Constitution ("EPC").
15

16
     62.     Beginning in December 2016, Mrs. Loew was subject to hostile, harsh and demeaning
     conducted directed at her because she is Caucasian, as described above, including, without
i~
      limitation, retaliation for opposition to Defendants' continue maintenance of their racial animus
18
     toward, and racial discrimination against, Caucasian and non-minority Manager with LACMTA
i9
     and LACMTA BOARD.
Zo
     63.     The above conduct was based on Mrs. Loew's race.
21

22   64.    Defendants acted on their racial animus and, acting in combination, concert and

23   conspiracy with LACMTA and the LACMTA Board of Directors and its members, inter alia.

24   65.    Defendants' disparate treatment of Mrs. Loew in comparison to other similarly situated
25   African American or minority administrators is based on Defendants racial animus towards
26   Caucasians and non-minorities and constitutes a deprivation of Mrs. Loew's right to equal
27   protection of the law as guaranteed by the EPC.

28




       COMPLAINT FOR DAMAGES,JURY DEMAND, AND REQUEST FOR INJUNCTIVE RELIEF
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 12 of 21 Page ID #:12




      66.     Defendants' deprivation of Ms. Loew's constitutional rights stems from Defendants'
 i
      policies and customs that maintained, promoted, perpetuated, tolerated and allowed racial
 2
      discrimination, including, but not limited to:
 3

 4
               A.     Failing to have adequate training and supervision necessary to prevent racial
      discrimination toward Caucasian employees
 s
 6              B.    Individuals with final decision-making authority (i.e.policymakers), took actions
      that failed to, in any way, prevent or remediate racial discrimination against Caucasian

 8
      employees; and

 9           C.      Individuals in supervisory roles had a custom of tolerance or acquiescence for
io    racial discrimination against Caucasian employees, some of whom permitted ongoing

ii    violations of Mrs. Loew's above-referenced rights.

12   67.       Washington, Peterson, Wisdom, Wiggins and Fabre above conduct directly
13    participated in, and encouraged, the specific instances of racial discrimination that Ms. Loew
iq   suffered and/or they participated in the above by authorizing, approving, and knowingly

i5    acquiescing in the unconstitutional conduct of Ms. Loew's coworkers.

~6   68.      In connection with the above, Washington, Peterson, Wisdom, Wiggins and Fabre werE
i~    acting in their individual capacities and for their individual interests, under color of state law, as
18    well as in their official capacities.

19
     69.    Defendants' above conduct deprived Mrs. Loew of her constitutional rights, including
zo   equal protection of the laws, as guaranteed by the Fourteenth Amendment to the United S
21    Constitution.
22
     70.     As a direct and proximate result of Defendants' above-described acts, omissions and
23
     conduct, Ms. Loew sustained injuries and damages, including, but not limited to: lost wages
24   and income, past and future; lost benefits, past and future; loss of job and career opportunities;
25    loss of earning capacity; extreme emotional distress, humiliation and mortification; psychiatric
z6   and physiological injury, and permanent mental disturbance; loss of reputation and esteem in

27
     the community, damages to personal reputation, and damage to business reputation; loss of

28




        COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
                                                       - 12
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 13 of 21 Page ID #:13




      enjoyment of the ordinary pleasures of everyday life; and loss of the ability to pursue
 i
      employment of choice.
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       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
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     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 14 of 21 Page ID #:14




 1

 2                                                COUNT II

 3

 4
                                    42 U.S.C.§ 1983 —DUE PROCESS
 s
     71.     Mrs. Loew incorporates herein her above allegations.
 6

     72.     Mrs. Loew enjoyed a constitutionally protected property interest in her job as Special
 8   Projects Manager at LACMTA.

 9   73.     Mrs. Loew enjoyed a constitutionally protected liberty interest in pursuing current and
to   future employment and maintaining her reputation and privacy.
11
     74.     Mrs. Loew also enjoyed a constitutionally protected liberty interest in her privacy and
IZ
     reputation.
13
     75.    At all times hereto, it was clearly established that violating Mrs. Loew's above rights and
14
      interests was constitutionally impermissible.
15
     76.     Acting under color of law, Defendants promulgated and carried out the official policies,
16
     orders and directives described above intentionally and deliberately, with wanton and reckless
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     disregard for the civil and constitutional rights, privileges and sensibilities of Mrs. Loew,
18
     including the fundamental right to due process arising out of the Fourteenth Amendment to the
19
     United States Constitution.
zo
     77.    Defendants, acting under color of law and pursuant to their respective authorities as
21
     described above, treated Mrs. Loew with extreme hostility and cruelty,
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23
     78.    Between October 2018 and June 2019 Defendants and agents of Defendants publicly
     leveled the above-referenced representations and allegations against Mrs. Loew regarding her
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     morality, private life and reputation, which stigmatized Mrs. Loew and severely damaged her
25
     opportunity for future employment.
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z~   79.    Defendants' representations and allegations were false.

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       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
                                                      - 14
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 15 of 21 Page ID #:15




      80.    Defendants' representations and allegations humiliated and defamed Mrs. Loew in
 i
      violation of her privacy and reputational liberty interests.
 z
 3    81.    Said representations and allegations were widely publicized.

 4    82.    Mrs. Loew was not allowed to confront, much less cross examine, her Defendants nor
 5    the individuals under Defendants' control who made the above representations or allegations,
 6    or to have athird-party do so.

     83.     Mrs. Loew was denied a prompt, thorough and impartial investigation of the above
 8    representations and allegations on several occasions.
 9
     84.     Mrs. Loew's work reputation was tarnished by Defendants and she was not afforded a
to
      meaningful name clearing hearing or opportunity.
ii
     85.     Defendants' actions invaded Mrs. Loew's constitutionally protected liberty and property
12
      interests in an arbitrary, capricious and irrational manner.
13

     86.     Defendants acted with deliberate indifference to Mrs. Loew's race-based disparate
14
     treatment and Mrs. Loew's presumed and actual innocence.
is
i6   87.     At all times hereto, Mrs. Loew had a clearly established the right to due process of law

i~   of which a reasonable public official would have known.

18   88.     Nevertheless, Mrs. Loew was treated with extreme hostility and cruelty, and was
19   disciplined, suspended and sanctioned by Defendants, depriving Mrs. Loew of her property
20   and liberty interests, without being afforded basic due process.

21   89.     Before depriving Mrs. Loew of her constitutionally protected property and liberty
22   interests, Defendants did not conduct a hearing or investigation into the grounds for her
23   discipline.
24
     90.    Defendants' actions of depriving Mrs. Loew of her constitutionally protected property
25   and liberty interests, without a hearing or investigation of the grounds for her discipline and,
26   abridged her right to due process of law in violation of the Fourteenth Amendment to the
27   United States Constitution.
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       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTNE RELIEF
                                                      - 15
       Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 16 of 21 Page ID #:16




        91.    Defendants' actions invaded Ms. Loew's constitutionally protected liberty and property
        interests in an arbitrary, capricious and irrational manner.
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 3     ~ 92.   By promulgating and carrying out the policies, orders, and directives described above,

 q      Defendants unlawfully violated Ms. Loew's constitutional rights.

 s     93.     As a direct and proximate result of Defendants' above described acts, omissions and
 6      conduct, Mrs. Loew has sustained injuries and damages including, but not limited to: lost
        wages and income, past and future; lost benefits, past and future; loss of job and career

 8
        opportunities; loss of earning capacity; extreme emotional distress, humiliation and
        mortification; psychiatric and physiological injury, and permanent mental disturbance; loss of
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        reputation and esteem in the community, damages to personal reputation, and damage to
to
        business reputation; loss of enjoyment of the ordinary pleasures of everyday life; and loss of
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       the ability to pursue employment of choice.
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         COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
                                                       - 16
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 17 of 21 Page ID #:17




                                                    Count III
 i
 z                                           CIVIL CONSPIRACY

 3
      94.     Mrs. Loew incorporates herein her above allegations.
 4
      95.     Defendants illegally, maliciously, and wrongfully conspired and combined with one
 5
      another with the intent to, and for the illegal purpose of intentionally, inter alia, depriving Mrs.
 6
      Loew of her constitutional rights, interests and privileges, as secured by the Thirteenth and
      Fourteenth Amendments to the United States Constitution.
 8
     96.     Defendants acted furtherance of their racial animus, and racial discrimination, against
 9
      Mrs. Loew because she is a Caucasian female, unlawfully depriving Ms. Loew of her rights,
to
      liberties and privileges which are protected by the United States Constitution.
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     97.     The above conspiracy and combination resulted in the illegal, unlawful, and/or tortious
iz
      activity by Defendants, including the suspension of Mrs. Loew, and subjecting her to racial
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      persecution, from her position as Special Projects Manager at LACMTA and, inter alia,
14
     depriving Mrs. Loew of her rights, liberties and privileges which are protected by the United
15
     States Constitution.
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     98.     Defendants, acting in concert and combination, inter alia, deprived Mrs. Loew of her
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      rights to freedom of speech, freedom of association, freedom to petition and due process in
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     violation of the First, Thirteenth and Fourteenth Amendments of the United States Constitution,
19
     as applied to the States and their political subdivisions under the Fourteenth Amendment to
20   the United States Constitution and 42 U.S.C. § 1983.
21
     99.    The above actions by Defendants, in conspiracy and combination, also deprived Mrs.
22
     Loew of her constitutional rights and privileges under the Equal Protections Clause of the
23   Fourteenth Amendment by, inter alia, acting irrationally, arbitrarily and with vindictiveness,
24   singling Ms. Loew out for unfair treatment, acting out of seer malice in their treatment of Mrs.
25   Loew, for reasons wholly unrelated to any legitimate state objective, and in refusing to provide
26   equal protection of the law to Mrs. Loew.

27   100. As a direct and proximate result of Defendants' above acts and violations of the United
28   ~ States Constitution, inter alia, in conspiracy and combination, Mrs. Loew sustained injuries ands


       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
                                                      ~~~
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 18 of 21 Page ID #:18




      damages, including, but not limited to: lost wages and income, past and future; lost benefits,
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      past and future; loss of job and career opportunities; loss of earning capacity; extreme
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      emotional distress, humiliation and mortification; psychiatric and physiological injury, and
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      permanent mental disturbance; loss of reputation and esteem in the community, damages to
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      personal reputation, and damage to business reputation; loss of enjoyment of the ordinary
 s    pleasures of everyday life; and loss of the ability to pursue employment of choice.
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       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
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     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 19 of 21 Page ID #:19




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 2        WHEREFORE, Mrs. Loew respectfully requests that this Court enter a judgment against
 3    Defendants, providing the following relief:

 4            A.     Awarding Mrs. Loew her actual, consequential and compensatory damages in
 5    excess of $5,000,000, including, without limitation, lost wages, front pay, backpay, lost
 6    benefits; emotional distress, mental distress, anguish, and humiliation; and damage to
      business reputation.

 8            B.     Awarding Mrs. Loew punitive damages, attorney fees and costs;
 9
              C.     Awarding Mrs. Loew punitive damages pursuant to 42 U.S.C. § 1981(b);
io
              D.     Awarding Mrs. Loew compensatory damages pursuant to 42 U.S.C. §1981(b);
ii
12            E.       Entering an injunction restoring Mrs. Loew to the unfettered position she had

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      with LACMTA and LACMTA BOARD, and restraining and enjoining Defendants from
     continuing their conduct and actions in violation of Ms. Loew's rights and the rights of other
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     similarly situated LACMTA and LACMTA BOARD employees, including restraining and
is
     enjoining Defendants from their customs and policies that create and perpetuate the racially
16
     disparate work environment at LACMTA;
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19       F.    Awarding Mrs. Loew any and all damages available federal or state common law,
20    including without limitation, punitive damages, reasonable attorney fees, and any other costs

21
     the action; and

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23
         G.        Awarding Mrs. Loew pre-judgment and post-judgment statutory interest.
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       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 20 of 21 Page ID #:20




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 2                                  Resp      Ily Submi      d,

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 4                                    Jennifer Erin Loew
 5                                    Plaintiff in Pro Per
 6                                    February 26, 2020


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       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
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     Case 2:20-cv-01900-VAP-JEM Document 1 Filed 02/27/20 Page 21 of 21 Page ID #:21




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 3
                                        DEMAND FOR JURY TRIAL
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         NOW COMES Plaintiff, Jennifer Loew, Plaintiff in Pro Per and hereby demands a trial by
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     jury of all the triable issues in the above matter.

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to
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                                             Jennifer Erin Loew
la
                                              Plaintiff in Pro Per
13
                                              February 26, 2020
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       COMPLAINT FOR DAMAGES,JURY DEMAND,AND REQUEST FOR INJUNCTIVE RELIEF
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